                        Case 14-12986-AJC    Doc 141     Filed 02/09/20       Page 1 of 3

                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

In re:                                                             CASE NO: 14-12986 BKC AJC
ALEJANDRO MADRIGAL                                                 CHAPTER 13
XXX-XX-5460
ANA MADRIGAL
XXX-XX-9948
           Debtor                  /

                                         OBJECTION TO CLAIM

                                 IMPORTANT NOTICE TO CREDITOR:
                               THIS IS AN OBJECTION TO YOUR CLAIM

               This objection seeks either to disallow or reduce the amount or change the
        priority status of the claim filed by you or on your behalf. Please read this objection
        carefully to identify which claim is objected to and what disposition of your claim is
        recommended.

               If you disagree with the objection or the recommended treatment, you must
        file a written response WITHIN 30 DAYS from the date of service of this objection,
        explaining why your claim should be allowed as presently filed, and you must serve
        a copy to the undersigned [attorney][trustee] OR YOUR CLAIM MAY BE DISPOSED
        OF IN ACCORDANCE WITH THE RECOMMENDATION IN THIS OBJECTION.

              If your entire claim is objected to and this is a chapter 11 case, you will not
        have the right to vote to accept or reject any proposed plan of reorganization until
        the objection is resolved, unless you request an order pursuant to Bankruptcy Rule
        3018(a) temporarily allowing your claim for voting purposes.

               The written response must contain the case name, case number, and must be
        filed with the Clerk of the United States Bankruptcy Court.

             Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1, the [trustee][debtor(s)]
        object(s) to the following claim filed in this case *:

        Claim                               Amount of          Basis for Objection and
        No.         Name of Claimant        Claim              Recommended Disposition
         2-2        United Student Aid      $32,446.63         This claim has already been objected to, and there
                    Funds, Inc.                                is an order sustaining the objection to claim 2-1,
                                                               which was entered on July 31, 2015 (DE #72),
                                                               therefore this claim is allowed as it is non-
                                                               dischargeable, but shall not receive any distribution
                                                               from the Chapter 13 Trustee.


LF-24 (rev. 12/01/09)                            Page 1 of 2
                        Case 14-12986-AJC   Doc 141    Filed 02/09/20   Page 2 of 3




LF-24 (rev. 12/01/09)                          Page 2 of 2
                        Case 14-12986-AJC    Doc 141     Filed 02/09/20   Page 3 of 3




                             Respectfully submitted,
                             The Law Offices of Christian Paul Larriviere, P.A. Counsel for
                             the Debtor
                             4340 Sheridan Street, Suite 102
                             Hollywood, Florida 33021
                             P: (954) 239-7150
                             F: (954) 874-6110
                             E: Christian@cpllaw.com
                             By:        _/s/                        Christian
                             Paul Larriviere, Esq. Florida Bar No: 571156




LF-24 (rev. 12/01/09)                            Page 3 of 2
